             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 1 of 34


     ARMENTA & SOL, PC
 1   M. Cris Armenta (SBN 177403)
     Credence E. Sol (SBN 219784)
 2   11440 West Bernardo Court, Suite 300
     San Diego, CA 92127
 3   Telephone: (858) 753-1724
     Facsimile: (310) 695-2560
 4   cris@crisarmenta.com
     credence@crisarmenta.com
 5
     Attorneys for Plaintiff MARSHALL DANIELS
 6   aka Young Pharaoh
 7
                               UNITED STATES DISTRICT COURT
 8
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
      MARSHALL DANIELS, also known as           Case No. 5:20:CV-04687-VKD
10    Young Pharaoh, an individual,
                                                (1)   OPPOSITION OF MARSHALL
11                         Plaintiff,                 DANIELS TO MOTION TO
                                                      DISMISS FILED BY
12    vs.                                             DEFENDANTS ALPHABET
      ALPHABET, INC., a Delaware                      INC., GOOGLE, LLC, AND
13    corporation; GOOGLE, LLC., a                    YOUTUBE, LLC; and
      Delaware limited liability company;
14    YOUTUBE LLC, a Delaware limited           (2)   DECLARATION OF M. CRIS
      liability company; DOES 1 through 10,           ARMENTA
15    inclusive.
                                                Before: Hon. Virginia K. DeMarchi
16                                              Courtroom: 2
                           Defendants.          Hearing Date: October 6, 2020
17                                              Time: 10:00 a.m.
18

19

20

21

22

23

24

25

26

27

28

                                                      Case No. 5:20:CV-04687-VKD
                             OPPOSITION TO MOTION TO DISMISS
                 Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 2 of 34



 1                                                    TABLE OF CONTENTS

 2   TABLE OF AUTHORITIES ........................................................................................................... i

 3   I.        INTRODUCTION ...............................................................................................................1

 4   II.       STANDARD ........................................................................................................................2

 5   III.      THE COMPLAINT PROPERLY ALLEGES GOVERNMENT COERCION AND

 6             ENCOURAGEMENT SUCH THAT THE FIRST AMENDMENT’S

 7             CONSTITUTIONAL SAFEGUARDS APPLY TO DANIELS’ SPEECH ........................2

 8             A.        None of the Cases Defendants Cite Address the Use of Governmental

 9                       Encouragement and Coercion of Social Media Censorship Practices .....................2

10             B.        Under Blum v. Yaretsky, Defendants’ Censorship Practices Constitute

11                       State Action Under Either the Governmental Nexus Test or the Joint

12                       Action Test ...............................................................................................................4

13             C.        Defendants, in “Partnership” with the Government, Have Engaged in

14                       Viewpoint Discrimination Against Plaintiff ............................................................7

15   IV.       PLAINTIFF PROPERLY ALLEGES CONTRACT-BASED AND

16             IMPLIED COVENANT CLAIMS ....................................................................................10

17             A.        Even under the TOS Proffered by Defendants, A Factual Inquiry is Required

18                       To Determine Whether YouTube Breached the Contract......................................10

19             B.        Whether YouTube Breached Its TOS By Censoring Plaintiffs’ Videos

20                       Calls for a Factual Inquiry into Whether YouTube Held a “Reasonable”

21                       Belief that Daniels Violated the TOS ....................................................................12

22             C.        YouTube is Not Entitled to Deny Daniels the Benefit of the Contracts/

23                       Agreements, and Daniels Properly Alleged that Defendants Breached

24                       the Implied Covenant by Interfering with His Receipt of Benefits in

25                       Bad Faith ................................................................................................................15

26   V.        PLAINTIFF’S COMMON LAW CLAIMS ARE PROPERLY PLEADED.....................16

27             A.        The Claim for Conversion Requires Only Facts Adequate to Identify the Sum

28                       Taken by Defendants .............................................................................................16

                                                            i           Case No. 5:20:CV-046867-VKD
                                                      TABLE OF CONTENTS
               Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 3 of 34



 1           B.        This Circuit Recognizes Unjust Enrichment as an Independent Claim ................17

 2           C.        To Avoid Another Round of Delay, Plaintiff Will Consent to Voluntary

 3                     Dismissal Without Prejudice of His Fraud and Wire Claims, but the UCL

 4                     Claim is Not Predicated on Fraud and Plaintiff Will Not Dismiss It.....................18

 5   VI.     SECTION 230 DOES NOT BAR PLAINTIFF’S CLAIMS .............................................19

 6   VII.    DEFENDANTS’ OWN FIRST AMENDMENT RIGHTS DO NOT BAR

 7           DANIELS’ CLAIMS .........................................................................................................23

 8   VIII.   CONCLUSION ..................................................................................................................24

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                         ii                                 Case No. 5:20:CV-046867-VKD
                                                   TABLE OF CONTENTS
              Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 4 of 34



 1                                               TABLE OF AUTHORITIES

 2   FEDERAL CASES

 3   Adana Jiagbogu v. Bank of America,

 4          2016 WL 7626249 (C.D. Cal. Dec. 1, 2016) .....................................................................18

 5   Asurvio, LP v. Malwarebytes, Inc.,

 6          2020 WL 1478345 (N.D. Cal Mar. 26, 2020) ....................................................................22

 7   Baker v. Cuomo,

 8          58 F.3d 814 (2d Cir.), cert. denied sub nom., Pataki v. Baker, 516 U.S. 980 (1005),

 9          vacated in part on other grounds, 85 F.3d 919 (2d Cir. 1996) (en banc) .............................3

10   Barr v. American Assn. of Political Consultants, Inc.,

11          No. 19-631 at *29 (U.S. July 6, 2020) .................................................................................8

12   Batzel v. Smith,

13          333 F.3d 1018 (9th Cir. 2003) ............................................................................................19

14   Bivens v. Six Unknown Fed. Narcotics Agents,

15          403 U.S. 388 (1971) .............................................................................................................1

16   Blum v. Yaretsky,

17          457 U.S. 991 (1982) .............................................................................................1, 4, 5, 8, 9

18   Boos v. Barry,

19          485 U.S. 312 (1988) .............................................................................................................8

20   Brandenburg v. Ohio,

21          395 U.S. 444 (1969) .............................................................................................................9

22   Broam v. Bogan,

23          320 F.3d 1023 (9th Cir. 2003) ..............................................................................................2

24   Brunette v. Humane Soc’y. of Ventura Cty.,

25          294 F.3d 1205 (9th Cir. 2002) .............................................................................................5

26   Bruton v. Gerber Prod. Co.,

27          703 Fed.Appx. 468 (9th Cir. 2017) .....................................................................................18

28

                                                       i            Case No. 5:20:CV-046867-VKD
                                                TABLE OF AUTHORITIES
              Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 5 of 34



 1   Chicago Lawyers’ Comm. For Civil Rights Under Law, Inc. v. Craigslist, Inc.,

 2          519 F.3d 666 (7th Cir. 2008), as amended (May 2, 2008) ..................................................19

 3   Cohen v. California,

 4          403 U.S. 15 (1971) ...............................................................................................................9

 5   Collins v. Womancare,

 6          878 F.2d 1145 (9th Cir. 1989) ..........................................................................................4, 5

 7   Coto Settlement v. Eisenberg,

 8          593 F.3d 1031 (9th Cir. 2010) ..............................................................................................2

 9   Cruise-Gulyas v. Minard,

10          918 F.3d 494 (6th Cir. 2019 ..................................................................................................9

11   Eastland v. United States,

12          421 U.S. 491 (1975) .............................................................................................................6

13   Ecological Rights Fdn. v. Pac. Gas & Elec. Co.,

14          713 F.3d 502 (9th Cir. 2013) ................................................................................................2

15   Elec. Constr. & Maint. Co., Inc. v. Maeda Pac. Corp.,

16          764 F.2d 619 (9th Cir. 1985) ................................................................................................3

17   Enhanced Athlete, Inc. v. Google,

18          2020 WL 4732209 (N.D. Cal. Aug. 14, 2020) ......................................................15, 22, 23

19   Enigma Software Group USA, LLC v. Malwarebytes, Inc.,

20          946 F.3d 1040 (9th Cir. 2019), petition for cert. pending sub nom. Malwarebytes, Inc v.

21          Enigma Software Group USA, LLC, No. 19-1284 (U.S. May 12, 2020) .............20, 21, 22

22   e-ventures Worldwide, LLC v. Google, Inc.,

23          188 F.Supp.3d 1265 (M.D. Fla. 2016) ...............................................................................23

24   Freedom Watch v. Google, Inc.,

25          368 F.Supp.3d 30 (D.D.C. 2019) .........................................................................................3

26   George v. Pacific-CSC Work Furlough,

27          91 F.3d 1227 (9th Cir. 1996) ................................................................................................4

28

                                                        ii            Case No. 5:20:CV-046867-VKD
                                                 TABLE OF AUTHORITIES
              Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 6 of 34



 1   Gilligan v. Jamco Dev. Corp.,

 2          103 F.3d 246 (9th Cir. 1997) ................................................................................................2

 3   Gonzalez v. Google, Inc.,

 4          282 F.Supp.3d 1150 (N.D. Cal. 2017) ...............................................................................21

 5   Haskins v. Symantec Corp.,

 6          2013 WL 623610 (N.D. Cal. Dec. 2, 2013) .......................................................................16

 7   Hearn v. R.J. Reynolds Tobacco Co.,

 8          279 F.Supp.2d 1096 (D. Az. 2003) ....................................................................................11

 9   Heineke v. Santa Clara University,

10          953 F.3d 1009 (9th Cir. 2020) .............................................................................................5

11   Hepp v. Facebook,

12          2020 WL 3034815 (E.D. Pa. June 5, 2020) .......................................................................22

13   In re CMR Mortg. Fund, LLC,

14          416 B.R. 720 (N.D. Cal. 2009) ..........................................................................................11

15   In re Figter Limited,

16          118 F.3d 635 (9th Cir. 1997) .............................................................................................20

17   International Audiotext Network, Inc. v. AT&T Co.,

18          62 F.3d 69 (2d Cir. 1995)...................................................................................................11

19   Lamps Plus, Inc. v. Varela,

20          ___ U.S. ___, 139 S.Ct. 1407 (2019) .................................................................................14

21   Lewis v. Google, LLC,

22          2020 WL 2745253 (N.D. Cal. May 20, 2018) ...................................................................13

23   Lugar v. Edmonson Oil Co.,

24          457 U.S. 922 (1982) .............................................................................................................5

25   Luke Records v. Navarro,

26          960 F.2d 134 (11th Cir. 1992) ..............................................................................................9

27   Manhattan Cmty. Access Corp. v. Halleck,

28          587 U.S. ___, 139 S.Ct. 1921 (2019) ...........................................................................3, 4, 5

                                                       iii           Case No. 5:20:CV-046867-VKD
                                                TABLE OF AUTHORITIES
              Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 7 of 34



 1   Matal v. Tam,

 2          582 U.S. ___, 137 S.Ct. 1744 (2017) ...............................................................................7, 8

 3   McGary v. City of Portland,

 4          386 F.3d 1259 (9th Cir. 2004) ..........................................................................................2, 3

 5   Miller v. California,

 6          413 U.S. 15 (1973) ...................................................................................................9, 21, 22

 7   Mishiyev v. Alphabet, Inc.,

 8          444 F.Supp.3d 1154 (N.D. Cal. 2020) ...............................................................................13

 9   Natomas Garden Inv. Group v. Sinadinos,

10          710 F.Supp.2d 1008 (E.D. Cal. 2010)................................................................................17

11   OSU Student Alliance v. Ray,

12          699 F.3d 1052 (9th Cir. 2012) ..............................................................................................2

13   Parks Sch. of Bus. Inc. v. Symington,

14          51 F.3d 1480 (9th Cir. 1995) ................................................................................................2

15   Police Department of Chicago v. Mosley,

16          408 U.S. 92 (1972) ...............................................................................................................7

17   Prager University v. Google, LLC,

18          951 F.3d 991 (9th Cir. 2020) ................................................................................................3

19   Rosenberger v. Rectors and Visitors of the University of Virginia,

20          515 U.S. 819 (1995) .............................................................................................................7

21   Schulken v. Washington Mut. Bank, Henderson NV,

22          2011 WL 4804063 (N.D. Cal. Oct. 11, 2011)....................................................................14

23   Sherman v. Yahoo!, Inc.,

24          997 F.Supp.2d 1129 (S.D. Cal. 2014) ..........................................................................19, 20

25   Shwarz v. United States,

26          234 F.3d 428 (9th Cir. 2000) ................................................................................................2

27   Simon & Schuster, Inc. v. Members of New York State Crime Victims Board,

28          502 U.S. 105 (1991) .............................................................................................................8

                                                        iv            Case No. 5:20:CV-046867-VKD
                                                 TABLE OF AUTHORITIES
              Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 8 of 34



 1   Song Fi, Inc. v. Google,

 2          108 F.Supp.3d 876 (N.D. Cal. 2015) .....................................................................19, 20, 21

 3   Texas v. Johnson,

 4          491 U.S. 397 (1989) .............................................................................................................8

 5   Trump v. Mazars USA, LLP,

 6          591 U.S. ___, 140 S.Ct. 2019, 2032 (2020) .........................................................................6

 7   Turner Broadcasting System, Inc. v. Federal Communications Comm’n.,

 8          512 U.S. 622 (1994) .............................................................................................................8

 9   United States v. Biaggi,

10          853 F.2d 89 (2d Cir. 1988).........................................................................................6, 7, 10

11   United States v. Corinthian Colleges,

12          655 F.3d 984 (9th Cir. 2011) ................................................................................................2

13   United States v. Fattah,

14          914 F.3d 112 (3d Cir. 2019)...............................................................................................10

15   United States v. Jefferson,

16          634 F.Supp.2d 595 (E.D. Va. 2009) ..................................................................................10

17   United States v. Merrill,

18          746 F.2d 458 (9th Cir. 1984) ..............................................................................................22

19   United States v. Poocha,

20          259 F.3d 1077, 1082 (9th Cir. 2001) ..................................................................................21

21   United States v. Price,

22          383 U.S. 787 (1966) .............................................................................................................4

23   Williams v. Albertson Cos.,

24          No. 19-16420 (9th Cir. Aug. 5, 2020) (mem.) .....................................................................5

25   Zekleman Indus. Inc. v. Marker,

26          2020 WL 1495210 (D. Az. Mar. 27, 2020) .......................................................................22

27   Zeran v. America Online,

28          129 F.3d 327 (4th Cir. 1997) ..............................................................................................19

                                                       v             Case No. 5:20:CV-046867-VKD
                                                TABLE OF AUTHORITIES
                  Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 9 of 34



 1   STATE CASES

 2   Durell v. Sharp Healthcare,

 3              183 Cal.App.4th 1350 (2010) .......................................................................................17, 18

 4   Farmers Ins. Exch. v. Superior Court,

 5              2 Cal.4th 377 (1992) .....................................................................................................18, 19

 6   Hartford Cas. Ins. Co. v. J.R. Mktg.,

 7              61 Cal.4th 988 (2015) .........................................................................................................18

 8   Melchior v. New Line Prod., Inc.,

 9              106 Cal.App.4th 779 (2003) .........................................................................................17, 18

10   Olsen v. Breeze, Inc.,

11              48 Cal.App.4th 608 (1996) ...........................................................................................18, 19

12   PCO, Inc. v. Christensen, Miller, Fink, Jacobs, Glaser, Weil & Shapiro,

13              150 Cal.App.4th 384 (2007) ..............................................................................................17

14   Prager University v. Google LLC,

15              2019 Super. LEXIS at *31 (Cal. Super. Ct. Nov. 19, 2019) ..............................................13

16   Supervalu, Inc. v. Wesford Underwriting Managers, Inc.,

17              175 Cal.App.4th 64 (2009) ................................................................................................16

18

19   FEDERAL AND STATE STATUTES

20   Cal. Bus & Prof. Code 17200 ..................................................................................................18, 24

21   42 U.S.C. 230 .....................................................................................................7, 19, 20, 21, 22, 23

22   42 U.S.C. 230(c) ................................................................................................................19, 20, 23

23   42 U.S.C. 1983 .................................................................................................................................1

24   47 U.S.C. 120(c) ............................................................................................................................19

25

26   TREATISES

27   C. Wright & A. Miller, Federal Practice and Procedure: Civil § 1357 (1969) ................................3

28

                                                             vi            Case No. 5:20:CV-046867-VKD
                                                      TABLE OF AUTHORITIES
                Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 10 of 34



 1   STATE REGULATIONS

 2   Cal. R. Ct. 8.1105(b) .....................................................................................................................13

 3

 4   LOCAL RULES

 5   N.D. Local Rule 3-4€ ....................................................................................................................13

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                           vii           Case No. 5:20:CV-046867-VKD
                                                    TABLE OF AUTHORITIES
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 11 of 34



 1          Plaintiff Marshall Daniels, an influential social media commentator also known as

 2   “Young Pharaoh” (“Daniels” or “Young Pharaoh”), opposes the Motion to Dismiss (“MTD”)

 3   filed by Defendants Alphabet, Inc. (“Alphabet”), Google LLC (“Google”) and YouTube LLC

 4   (“YouTube”). Daniels also submits a declaration by M. Cris Armenta (“Armenta Decl.”).

 5   I.     INTRODUCTION

 6          This is a civil rights action 1 brought against social media giants that, at the behest of and

 7   in partnership with influential and powerful members of Congress, capitulated to government

 8   demands that they demonetize and remove from YouTube the type of viewpoints that Daniels

 9   advocates. Although this action is brought in Daniels’ individual capacity, it seeks to vindicate

10   free speech rights that protect all Americans who post controversial social-media content and

11   who suffer the consequences demanded by the government. Defendants misapply the standard

12   applicable to an MTD in cases where a “novel” theory of liability is advanced and the law is

13   unsettled. Pursuant to the Supreme Court’s decision in Blum v. Yaretsky, 457 U.S. 991 (1982),

14   if a private actor is substantially encouraged or coerced by influential government officials,

15   then there is a nexus between the private actor and the government sufficient to trigger

16   constitutional safeguards. Although Defendants cite numerous cases where social media

17   platforms have escaped First Amendment liability, they do not cite a single case applying the

18   “substantial encouragement” or “coercion” theory of state action, which turns on showing

19   either a nexus with government action or joint action. Daniels has alleged specific conduct by

20   the government employed to encourage and coerce Defendants into removing and

21   demonetizing his content. Daniels has also alleged that YouTube’s CEO has publicly

22   acknowledged her company’s capitulation to those demands, which were made on official

23   congressional letterhead. If Daniels’ theory is “novel”—as Defendants themselves admit—

24   then the MTD must be denied.

25

26

27
     1
             This lawsuit should be considered a civil rights action under Bivens v. Six Unknown Fed.
     Narcotics Agents, 403 U.S. 388 (1971), not under Section 1983, because the government actors
28   here are federal officials. It was brought directly under the United States Constitution, as is
     required for a Bivens action. (Compl. ¶ 2.)
                                           1             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 12 of 34



 1   II.    STANDARD

 2          When ruling on a 12(b)(6) motion, the Court must construe the complaint in the light

 3   most favorable to the plaintiff. Parks Sch. of Bus. Inc. v. Symington, 51 F.3d 1480, 1484 (9th

 4   Cir.1995). Accepting as true the complaint’s material allegations, any inferences or

 5   ambiguities are resolved in the plaintiff’s favor. OSU Student Alliance v. Ray, 699 F.3d 1052,

 6   1061 (9th Cir. 2012); Shwarz v. United States, 234 F.3d 428, 435 (9th Cir. 2000). Rule 12(b)(6)

 7   motions are “viewed with disfavor and rarely granted.” Broam v. Bogan, 320 F.3d 1023, 1028

 8   (9th Cir. 2003) (dismissal with prejudice proper only in “extraordinary cases”); Gilligan v.

 9   Jamco Dev. Corp., 108 F.3d 246, 249 (9th Cir. 1997). Such motions are “especially

10   disfavored” where the complaint sets forth a novel legal theory “that can be best assessed after

11   factual development.” McGary v. City of Portland, 386 F.3d 1259, 1270 (9th Cir. 2004).

12          Defendants have attached several documents to their MTD that are not part of the

13   Complaint. Such documents may be considered on a 12(b)(6) motion if the complaint refers to

14   them, if they are central to the plaintiff’s claim and if no party questions their authenticity.

15   United States v. Corinthian Colleges, 655 F.3d 984, 999 (9th Cir. 2011). Where the complaint

16   merely alleges a “contract”—not a specific document—the court may not consider documents

17   that are not indisputably the basis for the contract without converting the motion to one for

18   summary judgment. Ecological Rights Fdn. v. Pacific Gas & Elec. Co., 713 F3d 502, 511 (9th

19   Cir. 2013) (attached document must be central to claim). Similarly, a complaint's “mere

20   mention of the existence of a document is insufficient to incorporate the contents of a

21   document.” Coto Settlement v. Eisenberg, 593 F.3d 1031, 1038 (9th Cir. 2010).

22   III.   THE COMPLAINT PROPERLY ALLEGES GOVERNMENT COERCION AND

23          ENCOURAGEMENT SUCH THAT THE FIRST AMENDMENT’S

24          CONSTITUTIONAL SAFEGUARDS APPLY TO DANIELS’ SPEECH

25          A.      None of the Cases Defendants Cite Address the Theory of Governmental

26                  Encouragement and Coercion of Social Media Censorship Practices

27          Defendants recount their long litigation history where First Amendment claims against

28   them (or similar platforms) failed for want of an element of government action. For example,

                                            2             Case No. 5:20:CV-046867-VKD
                                OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 13 of 34



 1   Defendants cite Manhattan Cmty. Access Corp. v. Halleck, 139 S.Ct. 1921, 1930 (2019) (cited in

 2   Opening Br. at 2:19), which held that a public access channel was not a state actor because

 3   “merely hosting speech by others is not a traditional public function and does not alone

 4   transform private entities into state actors subject to First Amendment constraints.” See also

 5   Prager University v. Google, LLC, 951 F.3d 991, 997-99 (9th Cir. 2020) (following Halleck in

 6   censorship challenge against YouTube) (cited in Opening Br. at 2:22). Finally, Defendants cite

 7   Freedom Watch, Inc. v. Google, Inc., 368 F.Supp.3d 30 (D.D.C. 2019) (cited in Opening Br. at

 8   2:7-3:1), where the district court rejected antitrust and First Amendment claims based on alleged

 9   coordination between social media platforms and news outlets because “Plaintiffs do not show

10   how the Platforms’ alleged conduct may fairly be treated as actions taken by the government

11   itself” solely because the platforms were regulated by the government. Id. at 40.

12          Unfortunately for Defendants, none of those cases are on point: The facts and theories in

13   Daniels’ Complaint are quite different than those addressed in Halleck, Prager University, and

14   Freedom Watch. Daniels’ theory—that House Speaker Nancy Pelosi and Intelligence

15   Committee Chairman Adam Schiff coerced, substantially encouraged, and threatened Defendants

16   to remove and downgrade or demonetize the type of speech that Daniels expresses—is novel. 2

17   When a plaintiff advances a novel but plausible theory of liability, an MTD may not be granted:

18          [T] he fact that McGary's claim does not fall within the four corners of our prior
            case law does not justify dismissal under Rule 12(b)(6). On the contrary, Rule
19          12(b)(6) dismissals “are especially disfavored in cases where the complaint sets
            forth a novel legal theory that can best be assessed after factual development.”
20          Baker v. Cuomo, 58 F.3d 814, 818-19 (2d Cir.), cert. denied sub nom., Pataki v.
            Baker, 516 U.S. 980, 116 S.Ct. 488, 133 L.Ed.2d 415 (1995), vacated in part on
21          other grounds, 85 F.3d 919 (2d Cir.1996) (en banc). As we have previously
            observed, “‘[t]he court should be especially reluctant to dismiss on the basis of
22          the pleadings when the asserted theory of liability is novel or extreme, since it is
            important that new legal theories be explored and assayed in the light of actual
23          facts rather than a pleader's suppositions.’” Elec. Constr. & Maint. Co., Inc. v.
            Maeda Pac. Corp., 764 F.2d 619, 623 (9th Cir.1985) (quoting 5 C. Wright & A.
24          Miller, FEDERAL PRACTICE AND PROCEDURE: CIVIL § 1357, at 601-03 (1969)).
25   McGary v. City of Portland, 386 F.3d at 1270.

26

27   2
             Defendants admit as much: “Plaintiffs tried to evade this precedent [citing to other cases
28   in which the defendants were not deemed state actors] by advancing a novel theory of state
     action.” (Opening Br. at 7:3-4.)
                                          3             Case No. 5:20:CV-046867-VKD
                              OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 14 of 34



 1           B.      Under Blum v. Yaretsky and Its Progeny, Defendants’ Censorship Practices

 2                   Constitute State Action Under Either the Governmental Nexus Test or the

 3                   Joint Action Test

 4           An independent examination of the Supreme Court’s opinion in Blum v. Yaretsky and

 5   its progeny leaves no doubt that the MTD must be denied. Blum held that “a State normally

 6   can be held responsible for a private decision only when it has exercised coercive power or has

 7   provided such significant encouragement, either overt or covert, that the choice must in law be

 8   deemed to be that of the State.” 457 U.S. at 1004. Over the years, the Ninth Circuit has

 9   interpreted Blum as encompassing four theories of state action by a private actor, any one of

10   which is alone sufficient: the public function test, the state compulsion test, the governmental

11   nexus test, and the joint action test. George v. Pacific-CSC Work Furlough, 91 F.3d 1227,

12   1230 (9th Cir. 1996).

13           Here, Daniels alleges that Defendants’ censorship practice satisfies either the

14   governmental nexus test or the joint action test. Under the governmental nexus test, a

15   private entity acts under color of state law if “there is a sufficiently close nexus between the

16   State [and] the entity such that the latter may fairly be treated as that of the state itself.” Blum,

17   457 U.S. at 1004. Under the joint action test, a private entity acts under color of state law if it

18   is “a willful participant in joint action with the state or its agents” to the point that the state and

19   the private entity are interdependent, as typically demonstrated through a substantial degree of

20   cooperation involving sustained, joint efforts. Collins v. Womancare, 878 F.2d 1145, 1154 (9th

21   Cir. 1989) (reversing summary judgment because “there is no question that state actors were

22   involved in the challenged conduct; the only question is whether [the private party] acted as ‘a

23   willful participant in joint activity”); United States v. Price, 383 U.S. 787, 794 (1966) (holding

24   that private defendants could be liable for constitutional violations: “it is enough that he is a

25   willful participant in joint activity with the State or its agents”).

26           Defendants claim that Manhattan Cmty. Access Corp. v. Halleck, 139 S.Ct. at 1928

27   (2019), eviscerated Blum’s holding that encouragement and coercion can demonstrate the

28   existence of state action and that a “state action” finding now requires the government’s actual

                                            4             Case No. 5:20:CV-046867-VKD
                                OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 15 of 34



 1   “compulsion” of a private party. Not so. Halleck expressly addressed only the “public

 2   function” theory of state action:

 3          Under this Court's cases, a private entity can qualify as a state actor in a few
            limited circumstances—including, for example, (i) when the private entity
 4          performs a traditional, exclusive public function, see, e.g., Jackson, 419 U.S. at
            352-354; (ii) when the government compels the private entity to take a particular
 5          action, see, e.g., Blum v. Yaretsky, 457 U.S. 991, 1004-1005; or (iii) when the
            government acts jointly with the private entity, see, e.g., Lugar v. Edmondson Oil
 6
            Co., 457 U.S. 922, 941-942 (1982).
 7
            The producers' primary argument here falls into the first category: The producers
 8          contend that MNN exercises a traditional, exclusive public function when it
            operates the public access channels on Time Warner's cable system in Manhattan.
 9

10   Id. (emphasis added). The stray comments Defendants cherry-pick from Halleck cannot be read
11   as modifying, much less overruling, constitutional doctrines the Court did not claim to address.
12   Blum and Lugar v. Edmondson Oil Co. are still binding authority.
13          The Ninth Circuit recognized this in Heineke v. Santa Clara University, 953 F.3d 1009
14   (9th Cir. 2020), post-Halleck, when it held that the presumption that private conduct does not
15   constitute state action “may be overcome in limited circumstances, such as where the state ‘has
16   exercised coercive power or has provided such significant encouragement’ that the challenged
17   action must be considered that of the state.” Id. at 1012 (quoting Blum, 457 U.S. at 1004). In
18   addition, numerous courts have held that a private party can be held to answer for constitutional
19   violations when it is a “willful participant” in a state action. See, e.g., Collins, 878 F.2d at
20   1154 (reversing summary judgment because “there is no question that state actors were
21   involved in the challenged conduct; the only question is whether [the private party] acted as a
22   willful participant in joint activity”); Brunette v. Humane Soc’y of Ventura Cty., 294 F.3d
23   1205, 1211 (9th Cir. 2002) (“To be engaged in joint action, a private party must be a ‘willful
24   participant’ with the State or its agents in an activity which deprives others of constitutional
25   rights”) (cited in Williams v. Albertsons Cos., No. 19-16420 (9th Cir. Aug. 5, 2020) (mem.)).
26          After failing to acknowledge the proper standard and vastly overstating the significance
27   of Halleck, Defendants go on to misread the complaint by arguing that Daniels failed to allege
28   that Defendants were coerced by the government. This is simply wrong: Speaker Pelosi and
                                            5             Case No. 5:20:CV-046867-VKD
                                OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 16 of 34



 1   Chairman Schiff’s encouragement, coercion, and threats are described in detail in and attached

 2   to the Complaint. (Compl. ¶¶ 20-24 & Exs. A & B.) Significantly, the Complaint includes an

 3   explanation of the coercive power of the government officials’ use of official congressional

 4   stationery to send their messages. (Id. ¶ 25.) Plaintiff also shows that Pelosi and Schiff’s

 5   coercion and encouragement was so significant that Defendants actually capitulated: YouTube

 6   CEO Susan Wojcicki, in direct response to Chairman Schiff’s letter, acknowledged that

 7   “@YouTube” and Schiff were in a “partnership” and pledged that Defendants would “continue

 8   to consult with Members of Congress” on Schiff’s content-moderation demands. (Id. ¶ 26 &

 9   Ex. C.) Finally, the time sequence alleged in the Complaint shows that Daniels’ content was

10   censored shortly after Schiff and Pelosi exerted their influence. (Compl. ¶¶ 6 (started on

11   YouTube in 2015), 9 (live-streamed Fauci criticism on April 21, 2020), 10 (live-streamed

12   George Floyd video), 20 & Ex. A (Schiff 2019 letter); 21 & Ex. B (Schiff 2020 letter), 24

13   (Pelosi threat: “you will be held accountable”).)

14          Defendants claim to have acted on their own; they argue that no law, regulation or

15   official action compelled YouTube to censor Daniels, and that that public statements by two of

16   the most powerful Members of Congress are insufficient to create state action. 3 (Opening Br.

17   at 8:7-9:14). But Defendants fail to acknowledge the variety of ways in which influential

18   Members of Congress may exert enormous pressure on an industry even without actually

19   passing a law. See, e.g., Trump v. Mazars USA, LLP, 591 U.S. __, 140 S.Ct. 2019, 2032

20   (2020) (congressional committees have the power to issue subpoenas); Eastland v. United

21   States, 421 U.S. 491, 504 n.15 (1975) (Congress’s power of inquiry is “as penetrating and far-

22   reaching as the potential power to enact and appropriate under the Constitution”); United States

23   v. Biaggi, 853 F.2d 89 (2d Cir. 1988) (affirming conviction of Congressman who sent letters on

24

25
     3
             To avoid delay, Plaintiff’s counsel repeatedly offered to meet and confer prior to the
     filing of an MTD. Defense counsel asserted that a meet and confer was not required and only
26   reluctantly participated the day before the filing deadline. As a result, it was quite difficult to
     educate defense counsel about the results of Plaintiff’s pre-filing research and analysis.
27   (Armenta Decl. ¶ 4 & Ex. 3.) During the last-minute meet and confer session, defense counsel
     provided no legal authority for their position other than Section 230 of the CDA. A robust,
28   proper and early conference between counsel on the points raised in the MTD could have vitiated
     the need for the MTD or resulted in minor amendments to the Complaint.
                                           6             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 17 of 34



 1   congressional and committee stationery to improperly influence third parties). No industry

 2   leaders will lightly brush off the possibility that Congress can hold televised hearings where

 3   they will be asked probing or embarrassing questions, or pass legislation injurious to their

 4   business—such as repealing Section 230 of the of the Communications Decency Act, on which

 5   Defendants rely so heavily in this and every other case brought against them for the past two

 6   decades. Far better to knuckle under to the Speaker’s threat that “you will be held accountable”

 7   and graciously accept Chairman Schiff’s “partnership” by promising to censor views with

 8   which those powerful individuals disagree.

 9          C.      Defendants, in “Partnership” with the Government, Have Engaged in

10                  Viewpoint Discrimination Against Plaintiff

11          Defendants next argue that because Speaker Pelosi and Chairman Schiff did not identify

12   Daniels by name, there is no nexus between their statements and Defendants’ decision to

13   censor Daniels. Would Defendants then agree that if a powerful Congressman demanded that

14   YouTube ban all African-American content creators, a failure to identify such creators by name

15   would mean that there was no nexus between the officials’ demand and the platform’s racist

16   responsive actions? Defendants’ argument reveals a profound misunderstanding of the

17   constitutional prohibition of viewpoint and content discrimination, the strict scrutiny applied to

18   such conduct, and the nexus or willful participation tests for state action.

19          The Supreme Court has often held that the First Amendment’s core principle is that the

20   government cannot discriminate against speech based on its content. In Police Department of

21   Chicago v. Mosley, 408 U.S. 92, 95 (1972), the Court held: “[A]bove all else, the First

22   Amendment means the government has no power to restrict expression because of its message,

23   its ideas, its subject matter or its content.” Content-based restrictions on speech are prohibited

24   unless the government (or in this case, the Defendants) can show that the regulation or policy is

25   necessary to achieve a compelling governmental interest. Rosenberger v. Rectors and Visitors

26   of the University of Virginia, 515 U.S. 819 (1995) (striking down viewpoint discrimination

27   against student-run religious publication); see also Matal v Tam, 582 U.S. ___, 137 S.Ct. 1744

28   (2017) (while First Amendment guards against targeting specific subject matter, viewpoint

                                           7             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 18 of 34



 1   discrimination is an “egregious form of content discrimination” that is “presumptively

 2   unconstitutional”); Barr v. American Assn. of Political Consultants, Inc., No. 19-631 at *29

 3   (U.S. July 6, 2020) (striking down federal statute that favored “debt-collection speech over

 4   plaintiffs’ political speech”).

 5           The conduct described in detail in the Complaint (if fairly characterized as state action

 6   in light of Blum and its progeny) constitutes the most egregious form of viewpoint

 7   discrimination. Rules about speech must be viewpoint neutral: speech cannot be regulated

 8   based on its message. See, e.g., Texas v. Johnson, 491 U.S. 397 (1989) (invalidating Texas law

 9   prohibiting flag desecration); Boos v. Barry, 485 U.S. 312 (1988) (striking down law that

10   banned display of signs criticizing a foreign government near its embassy). The reason is that

11   such restrictions “raise[] the specter that the Government may effectively drive certain ideas or

12   viewpoints from the marketplace.” Simon & Schuster, Inc. v. Members of New York State

13   Crime Victims Bd., 502 U.S. 105, 116 (1991). “Laws of this sort pose the inherent risk that the

14   Government seeks not to advance a legitimate regulatory goal, but to suppress unpopular ideas

15   or misinformation or manipulate the public debate through coercion rather than persuasion.”

16   Turner Broadcasting System, Inc. v. Federal Commun. Comm’n, 512 U.S. 622, 641 (1994).

17           Even if Speaker Pelosi and Chairman Schiff disagree with content created by

18   commentators such as Daniels because they believe that it contains “misinformation” about

19   vaccines or contradicts the WHO’s stance on COVID, they are not permitted to regulate free

20   speech on the topic or to coerce, threaten or substantially encourage the Defendants to do so for

21   them. (See, e.g., Compl. Ex. A (“users will continue to see and engage with harmful medical

22   content on your platforms” and “the best protection is removing or downgrading harmful

23   content before users engage with it” and “I urge you to adopt a similar practice for YouTube

24   users”).) In light of the measures taken by various states in the hope of “flattening” the COVID

25   “curve,” this material addresses one of the most relevant scientific, political and civil liberties

26   issues of the day. Thus, it deserves the highest level of First Amendment protection. 4

27
     4
28          Defendants attach transcripts of Daniels’ videos, highlighting what appears to be the
     language most offensive to them. (See Opening Br. 11:1-7 (opinions about Dr. Fauci, opinions
                                            8             Case No. 5:20:CV-046867-VKD
                                OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 19 of 34



 1          Defendants do not even attempt to argue that Daniels’ speech incites violence, is

 2   obscene, or otherwise falls out of the purview of First Amendment protection. Cf. Miller v.

 3   California, 413 U.S. 15, 23-24 (1973) (obscenity); Brandenburg v. Ohio, 395 U.S. 444, 447-

 4   448 (1969) (incitement); see also Cohen v. California, 403 U.S. 15 (1971) (jacket with words

 5   “Fuck the Draft” on back is protected speech); Cruise-Gulyas v. Minard, 918 F.3d 494 (6th Cir.

 6   2019) (“a citizen who raises her middle finger [to police] engages in speech protected by the

 7   First Amendment); Luke Records v. Navarro, 960 F.2d 134 (11th Cir. 1992) (applying Miller

 8   test to song “As Nasty as They Want to Be” and finding trial court could not determine that it

 9   had “no serious artistic value” simply by listening to it).

10          As set forth in the Complaint, Daniels’ censored content primarily addresses issues

11   related to COVID and the protests that erupted after the death of George Floyd: It is scientific

12   and political speech protected by the First Amendment. Accordingly, the key inquiry in this

13   case implicates a novel issue: Are Daniels’ factual allegations of coercion and substantial

14   encouragement by Speaker Pelosi and Chairman Schiff sufficient to make out a plausible claim

15   for government action under Blum and its progeny under the governmental nexus or joint

16   action test? Defendants make a shopworn slippery-slope argument, claiming that under

17   Daniels’ theory, a private business might then become a state actor any time a legislator quietly

18   suggests it should operate in a particular manner. But, contrary to Defendants’ contentions, the

19   Complaint does not allege a mere suggestion. Rather, Chairman Schiff put his demand on

20   congressional letterhead, sent it to YouTube and Google, published it on his official

21   congressional Twitter account and website, and received a kowtowing response from Google’s

22   CEO acknowledging her “partnership” with Congress and pledging to “continue to consult

23   with Members of Congress.” Chairman Schiff’s use of government letterhead to demand

24   viewpoint-specific or subject-matter censorship is much more intimidating than the whispered

25   suggestion of general business practices that Defendants describe: Using congressional

26

27   about the aftermath of George Floyd’s death, and opinions about former President Obama).)
     Many Americans may disagree vehemently with Daniels’ opinions. However, Plaintiff submits
28   that controversial speech is especially in need of constitutional protection. After all, who is
     going to squelch speech that expresses popular views?
                                           9             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 20 of 34



 1   letterhead as part of his campaign to pressure Defendants into censorship converts Chairman

 2   Schiff’s acts into official coercion. See, e.g., Biaggi, 853 F.2d at 98 (Congressman indicted for

 3   bribes engaged in “official acts” when he used his congressional stationery to exert influence);

 4   United States v. Fattah, 914 F.3d 112 (3d Cir. 2019) (affirming conviction for conspiracy to

 5   funnel public funds of Congressman who had made requests for monies on official

 6   congressional letterhead); United States v. Jefferson, 634 F. Supp. 2d 595 (E.D. Va. 2009)

 7   (resolving issue of whether indicted Congressman had conducted “official act” by, among other

 8   things, using congressional letterhead). Schiff’s use of his taxpayer-funded congressional

 9   letterhead and official congressional website to coerce Defendants (or in his words, to officially

10   “urge” them) to censor speech he disfavored crosses the bright line between (actionable)

11   “official acts” and (non-actionable) suggestions by someone who happens to be a Member of

12   Congress. Official letters from the Chairman of the House Permanent Select Committee on

13   Intelligence of the United States House of Representatives (Compl. Exs. A & B) signifies that a

14   matter is serious indeed. CEO Wojcicki’s instant tweet-back shows she took it that way.

15   IV.    PLAINTIFF PROPERLY ALLEGES CONTRACT-BASED AND IMPLIED

16          COVENANT CLAIMS

17          A.      Even Under the TOS Proffered by Defendants, A Factual Inquiry is

18                  Required to Determine Whether YouTube Breached the Contract

19          In considering Daniels’ contract and implied covenant claims against YouTube, it is

20   important to note at the outset that YouTube changes its Terms of Service (“TOS”) with great

21   regularity. Daniels alleges in his Fifth Claim for Relief (breach of contract) that YouTube

22   breached the contract set forth in the TOS by failing to inform him when one of his videos was

23   flagged, stricken or taken down, and when his use of YouTube’s SuperChat function was

24   abruptly demonetized. (Compl. ¶ 85.) In an attempted gotcha, YouTube points to Paragraph

25   10 of the Complaint as an admission that YouTube did inform Daniels. (Opening Br. 12:13-16

26   (citing Compl. ¶¶ 9, 10).) Daniels alleges that he did not know his content was removed

27   because YouTube failed to inform him and that he “learned of the takedown from one of his

28   subscribers.” (Compl. ¶ 9.) The reasonable inference to be drawn in Plaintiff’s favor is that it

                                           10             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 21 of 34



 1   was not until a subscriber advised Daniels that he reached out to YouTube and learned of the

 2   removal. (Compl. ¶ 9.) The obvious interpretation of the TOS term by which YouTube

 3   promises to “notify you of the reason for our action” is that YouTube will make the notification

 4   when it takes action, not when a content creator hears through the grapevine that his content

 5   has been removed.

 6          Daniels also alleges in his Fifth Claim for Relief that Defendants failed to provide an

 7   appeals process. (Compl. ¶ 85.) YouTube argues that it did provide an “appeals process.” As

 8   alleged in the Complaint, however, the “appeals process” consisted of Daniels contacting

 9   Google, with Google Support unilaterally terminating the chat process by which the appeal is

10   managed (Compl. ¶ 9) and then falsely promising to respond to Daniels “within a day.”

11   (Compl. ¶ 9.)

12          Defendants also breached their contract with Daniels by demonetizing his use of

13   YouTube’s SuperChat function. YouTube’s only communication to content creators on the

14   issue of demonetization is as follows: “We have updated this article to provide more

15   transparency that YouTube disables monetization on channels that haven’t uploaded a video or

16   posted to the Community tab for 6 months or more.” (White Decl. Ex. 13.) Exhibit 15 appears

17   to be the only document that even mentions the SuperChat monetization function—and states

18   only that it may disabled if the creator has been dormant for 6 months. That was not the case

19   here: As set forth in the Complaint, Daniels has been a very active content creator on YouTube

20   since 2015.

21          Defendants attach a series of TOS documents to the White Declaration without

22   identifying the operative dates of those agreements. It is black-letter law that any ambiguity in

23   the documents created and proffered by Defendants is resolved in Plaintiff’s favor.

24   International Audiotext Network, Inc. v. AT&T Co., 62 F.3d 69, 72 (2d Cir. 1995); Hearn v.

25   R.J. Reynolds Tobacco Co., 279 F.Supp.2d 1096, 1102 (D. Az. 2003) (cited in In re CMR

26   Mortg. Fund, LLC, 416 B.R. 720 (N.D. Cal. 2009)). The White Declaration suggests that the

27   TOS versions she attaches are current, but she provides the Court with no information as to

28   which of them was operative at the inception of the Daniels-YouTube relationship and which

                                           11             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 22 of 34



 1   was operative when YouTube removed and demonetized Daniels’ content. (Armenta Decl. ¶ 2

 2   & Exs. 1, 2.) Significantly, the TOS in place when Daniels began his relationship with

 3   YouTube construed YouTube’s power more broadly. (Armenta Decl. Exs. 1 & 2.) Defendants

 4   narrowed their own latitude, voluntarily agreeing to remove content only when they

 5   “reasonably believe” that it violates their TOS.

 6          B.      Whether YouTube Breached its TOS by Censoring Plaintiff’s Videos Calls

 7                  for a Factual Inquiry into Whether YouTube Held a “Reasonable” Belief

 8                  That Daniels Violated the TOS

 9          Even assuming that the disputed documents attached by the Defendants may properly

10   be considered on an MTD, Defendants’ argument on the breach of contract claim should still be

11   rejected. Defendants identify Exhibit 1 to the White Declaration as the operative TOS. While

12   it is true that many content-removal cases against YouTube have failed because courts have

13   concluded that YouTube’s TOS authorized removal and demonetization, the TOS identified by

14   Defendants in this case do not provide that latitude. (Compare Opening Brief at 13 (listing

15   various cases where courts concluded breach of contract claims failed because the TOS

16   authorized removal or demonetization) with White Decl. Ex. 1 (alleged operative TOS). 5) The

17   TOS document provided by Defendants includes two relevant paragraphs on the topic of

18   removal, 6 one governing the removal of content by the creator (i.e., Daniels) and one governing

19   the removal of content by YouTube. (White Decl. Ex. 1; Armenta Decl. Ex. 2.) The TOS

20   paragraph governing removal by the content creator states clearly: “You may remove your

21   Content from the Service at any time.” (Id.) This gives Daniels the right to remove his content

22   at any time with no restrictions. By contrast, the TOS document drafted and submitted by

23   Defendants severely limits YouTube’s power to remove content:

24

25

26   5
            Although Daniels here responds to the arguments made by Defendants based on the TOS
27   at Exhibit 1, he objects to the attachment and selection of the TOS and exclusion of the 2015
     TOS operative at the time he began his YouTube relationship.
28   6
            These two paragraphs are attached to the Armenta Declaration as Exhibit 2.
                                           12             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 23 of 34



 1          If we reasonably believe that any Content is in breach of this Agreement or may
            cause harm to YouTube, our users, or third parties, we may remove or take
 2          down that Content in our discretion.
 3   Id. Significantly, not a single case cited by Defendants for the proposition that YouTube

 4   enjoys unfettered discretion to remove content discusses this “reasonable belief” restriction on

 5   YouTube’s ability to remove content. In Mishiyev v. Alphabet, Inc., 444 F. Supp. 3d 1154

 6   (N.D. Cal. 2020), 7 the trial court agreed that YouTube’s TOS permitted removal due to

 7   repeated copyright claims based on the term stating that “YouTube does not permit copyright

 8   infringing activities … [and] will remove all Content if properly notified that such Content

 9   infringes…”). In Lewis v. Google, LLC, 2020 WL 2745253 (N.D. Cal. May 20, 2018), the

10   court dismissed only a breach of implied covenant claim based on plaintiff’s concession that

11   “YouTube’s terms and guidelines explicitly authorized YouTube to remove or demonetize

12   content that violates its policies.” Here, Daniels makes no such concession and the TOS

13   document proffered by the Defendants does not give YouTube unfettered discretion.

14   Defendants point to Prager University v. Google LLC, 8 an unpublished state court trial decision

15   that is not precedential and should not be cited pursuant to Local Rule 3-4(e) (“Unpublished

16   Prager”). 9 Unpublished Prager did not involve a breach of contract claim, but the dismissal of

17   a breach of implied covenant of good faith claim that was based on TOS stating that “YouTube

18   reserves the right to remove Content without prior notice,” 10 a term not contained in the TOS

19

20   7
            Mishiyev is cited by Defendants as 2020 U.S. Dist. LEXIS 44723, at *9-12; the case has
21   been published in the official reporter.

22
     8
            Cited as Prager University v. Google LLC, 2019 Super. LEXIS at *31-32 (Cal. Super. Ct.
     Nov. 19, 2019), attached for reference only to the Armenta Declaration, Ex. 4
23   9
             N.D. Loc. Rule 3-4(e): “Any order or opinion that is designated: “NOT FOR
24   CITATION,” pursuant to [N.D. Cal.] Civil L.R. 7-14 or pursuant to a similar rule of any other
     issuing court, may not be cited to this Court, either in written submissions or oral argument,
25   except when relevant under the doctrines of law of the case, res judicata or collateral estoppel.”
     See also Cal. R. Ct. 8.1105(b) (any decision not certified for publication must not be cited or
26   relied on by a party in any other action). Notably, the TOS on which the Unpublished Prager
     dismissal relied appears to be a prior iteration of YouTube’s TOS. (See Armenta Decl. Ex. 4
27   (attaching Unpublished Prager).)

28
     10
            “Remove Content without prior notice” language does appear where removal is based on
     a claim of copyright infringement. (White Decl. Ex. 3 at § 4 ¶ 7) (discussing copyright
                                           13             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 24 of 34



 1   proffered by the Defendants in this case. (Compare Armenta Decl. Ex. 4 (Unpublished Prager)

 2   with White Decl. Ex. 1 (“TOS”) and Armenta Decl. Ex. 2 (“2015 TOS”).)

 3           Under California law, all ambiguities contained in the TOS are resolved against the

 4   drafters, “a rule that ‘applies with peculiar force in the case of a contract of adhesion’ such as

 5   this.” Lamps Plus, Inc. v. Varela, ___ U.S. ___, 139 S.Ct. 1407, 1413 (2019). The key issue

 6   arising out of the operative TOS proffered by the Defendants is whether their removal of

 7   Daniels’ content is authorized by the provision requiring that YouTube “reasonably believe[]”

 8   that the “Content [was] in breach of this Agreement or may cause harm to YouTube, our users,

 9   or third parties.” (White Decl. Ex. 1.) Because Plaintiff has alleged that YouTube breached the

10   contract by removing his content without a contractual justification and in violation of his First

11   Amendment rights, it is Defendants’ factual burden to show that it held a reasonable belief that

12   Daniels’ content was in breach of the TOS or “may cause harm to YouTube, [its] users, or third

13   parties.”

14           In determining whether “reasonable belief” may be adjudged at the MTD stage,

15   consider Schulken v. Washington Mut. Bank, Henderson NV, 2011 WL 4804063 (N.D. Cal.

16   Oct. 11, 2011). There, Schulken complained that a bank had cancelled its Home Equity Line of

17   Credit (“HELOC”). The bank moved to dismiss, pointing to a provision authorizing it to

18   cancel a HELOC under “Regulation Z.” Id. at *9. But, as Judge Koh noted, Regulation Z

19   permitted such cancellation only where the creditor had a “reasonable belief that the consumer

20   will be unable to repay the debt due to a material change in circumstances.” Id. (citations

21   omitted). Judge Koh held that the plaintiff had sufficiently stated a breach of contract claim,

22   and it was a question of fact to be proved by the parties what information the bank had to

23   support its supposed “reasonable belief.” Id. Similarly, whether YouTube held a “reasonable

24   belief” about Daniels’ content calls for a factual inquiry. If, for instance, Defendants did not

25   have a reasonable belief that Daniels breached the TOS or that his content would harm others,

26   and they were merely acceding to governmental censorship demands, then Daniels would

27

28   infringement removals). So, Defendants and their army of lawyers do know how to say it when
     they mean it.
                                           14             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 25 of 34



 1   prevail under the terms of the TOS proffered by the Defendants. In stating that YouTube

 2   breached the contract by removing and demonetizing his content without any “compelling,

 3   significant or legitimate reason” (Compl. ¶ 60), Daniels has sufficiently stated a breach of

 4   contract claim against YouTube for the improper and unjustified removal of his content in

 5   direct violation of the TOS Defendants themselves proffered. This is not a matter that can be

 6   decided at the pleading stage, particularly where Daniels alleged the removals were without

 7   justification and done in bad faith. (Compl. ¶¶ 59, 60.)

 8          C.      YouTube is not Entitled to Deny Daniels the Benefit of the

 9                  Contracts/Agreements, and Daniels Properly Alleged That Defendants

10                  Breached the Implied Covenant by Interfering with His Receipt of Benefits

11                  in Bad Faith

12          “Every contract imposes on each party a duty of good faith and fair dealing in each

13   performance and in its enforcement.” Enhanced Athlete, Inc. v. Google, LLC, 2020 WL

14   4732209 (N.D. Cal. Aug. 14, 2020) (citing California law). “The implied covenant

15   supplements the express contractual covenants, to prevent a contracting party from engaging in

16   conduct which (while not technically transgressing the express covenants) frustrates the other

17   party’s rights to the benefits of the contract.” Id. In Enhanced Athlete, Google made the same

18   argument it makes here, and Judge Gillam granted an MTD on the plaintiff’s implied covenant

19   claim for the following reasons: (1) plaintiff did not identify ambiguities in the documents;

20   (2) the court incorporated the documents proffered by Google without objection from the

21   plaintiff; and (3) the proffered TOS gave Google “sole discretion” to discontinue the service at

22   any time. Id. *6. By contrast, Daniels has (1) identified ambiguities in the documents that

23   must be resolved against Defendants as the drafter of those documents; and (2) explained that

24   the TOS proffered by the Court do not give Defendants the “sole discretion” to remove

25   Daniels’ content—instead, YouTube’s removal right is constrained by the requirement that it

26   “reasonably believed” Daniel’s content violated the Agreement and Community Guidelines.

27   Defendants cannot make such a showing on an MTD because “reasonable belief” is necessarily

28   a factual inquiry. Accordingly, the breach of implied covenant claim must stand.

                                           15             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 26 of 34



 1   V.     PLAINTIFF’S COMMON LAW CLAIMS ARE PROPERLY PLEADED
 2          A.      The Claim for Conversion Requires Only Facts Adequate to Identify the

 3                  Sum Taken by the Defendants

 4          Daniels’ conversion claim is grounded on Defendants’ improper retention of donations

 5   made to him by his fans through YouTube’s SuperChat function. The Third Claim for Relief

 6   for Conversion clearly lays out the elements of this cause of action as follows: (1) Daniels had

 7   a right to the donations made by his fans and followers; (2) YouTube intentionally withheld

 8   and retained that property; (3) Daniels did not consent to give YouTube his property; and

 9   (4) YouTube’s conduct was a substantial factor in causing Daniels’ economic harm. (Compl.

10   ¶¶ 73-77.) YouTube asks this Court to dismiss the claim for conversion because Daniels has

11   also alleged the existence of a contract between him and YouTube. (Opening Br. at 15:22-

12   16:14.) However, YouTube also argues that “the Complaint does not identify those agreements

13   or seek to premise a contract claim on them.” (Id. at 14:5-6.) Defendants then cite cases for

14   the proposition that where a contract identifies the rights of the parties, an equitable claim such

15   as conversion may be dismissed. (Id. at 15:15-20 (citing Haskins v. Symantec Corp., 2013 WL

16   623610 (N.D. Cal. Dec. 2, 2013)).) Defendants ignore the district court’s warning that Haskins

17   must be “distinguishe[d] from Supervalu, in which money had and received remained viable as

18   a quasi-contractual remedy for harms which occurred distinct from the parties’ agreement.” Id.

19   at *11 (citing Supervalu, Inc. v. Wexford Underwriting Managers, Inc., 175 Cal.App.4th 64, 78

20   (2009)). Because YouTube failed to identify any contract that governs the revenue-share for

21   the SuperChat function, its contract argument is inapposite. 11

22          Defendants’ argument that the conversion claim fails because Daniels cannot identify

23   the specific amounts of money YouTube withheld from his donations is misleading. As

24   Daniels’ counsel clearly indicated during the pre-filing meet and confer, once YouTube deleted

25   the videos, the analytics related to the sums donated disappeared from Daniels’ reach on the

26   platform. (Armenta Decl. ¶ 4 & Ex. 3). For that reason, discovery is necessary to enable

27

28   11
            Daniels opposes the MTD as to the Fourth Claim for Relief on the same grounds.
                                           16             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 27 of 34



 1   Daniels to determine the exact amount at issue in his conversion claim. But, at the pleading

 2   stage, a plaintiff must allege only an amount “capable of identification.” PCO, Inc. v.

 3   Christensen, Miller, Fink, Jacobs, Glaser, Weil & Shapiro, 150 Cal.App.4th 384 (2007) (cited in

 4   Natomas Garden Inv. Group v. Sinadinos, 710 F.Supp.2d 1008 (E.D. Cal. 2010)). Considering

 5   the liberal pleadings requirements in federal court, it is only necessary for plaintiffs to allege an

 6   amount of money that is ‘capable of identification.’” Id. at 1019. Daniels has met that

 7   standard: He alleged that the conversion claim covers funds that his supporters donated

 8   through the YouTube SuperChat platform but that he never received because YouTube

 9   removed his videos and pocketed the money. (Compl. ¶¶ 72-42.) Because the amount of

10   money at issue is known only to the Defendants, this Court should reject their argument that the

11   claim fails for want of an allegation of a specific sum.

12          B.      This Circuit Recognizes Unjust Enrichment as an Independent Claim

13          Daniels has also stated an unjust enrichment claim against Defendants based on their

14   wrongful retention of his donations. Despite attaching numerous agreements to the MTD,

15   Defendants have not pointed to any specific contract term that governs what happens when

16   YouTube collects money for a creator and then refuses to hand it over, as the consumers and

17   fans anticipated. (Compare generally White Decl. Ex. 15 (webpage governing SuperChat

18   stating that “SuperChat and SuperStickers are ways to monetize your channel through the

19   YouTube Partner Program” and “You can see revenue reports”) with Compl. 13 (“Daniels’ fans

20   and followers have donated to him through the YouTube platform’s SuperChat function … his

21   subscribers have donated monies earmarked for him but YouTube has retained those monies”).)

22   A search of the agreements proffered by Defendants failed to identify a provision giving

23   YouTube the right to take the money that subscribers direct to creators through the SuperChat

24   function, other than the inducement that SuperChat is a “way[] to monetize your channel.”

25   (See generally White Decl. Ex. 15.) The MTD identifies none.

26          Citing two California cases, Defendants move to dismiss the unjust enrichment claim on

27   the sole ground that it does not constitute a cause of action. (Opening Br. at 16:15-17 (citing

28   Durell v. Sharp Healthcare, 183 Cal.App. 4th 1350, 1370 (2010) and Melchior v. New Line

                                           17             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 28 of 34



 1   Prod., Inc., 106 Cal.App.4th 779, 793 (2003)).) While this is the approach some California

 2   courts have taken, it is not the approach taken by the courts of the Ninth Circuit: “The

 3   California Supreme Court has clarified California law and allowed independent claims for

 4   unjust enrichment to proceed.” Bruton v. Gerber Prod. Co., 703 Fed.Appx. 468, 470 (9th Cir.

 5   2017) (citing Hartford Cas. Ins. Co. v. J.R. Mktg., 61 Cal.4th 988, 1000 (2015)); see also

 6   Adana Jiagbogu v. Bank of America, 2016 WL 7626249 (C.D. Cal. Dec. 1. 2016) (declining to

 7   follow both Durell and Melchior and noting that “this Court has generally taken the approach

 8   that the claim should survive that argument”).

 9          C.      To Avoid Another Round of Delay, Plaintiff Will Consent to Voluntary

10                  Dismissal Without Prejudice of his Fraud and Wire Fraud Claims, but the

11                  UCL Claim is Not Predicated on Fraud and Plaintiff Will Not Dismiss It

12          Given that Daniels’ important First Amendment rights are implicated in this case, and to

13   avoid a delay requiring more particularized pleading of his Eighth Claim for Relief for Fraud in

14   the Inducement and The Ninth Claim for Relief for Wire Fraud, he consents to the dismissal of

15   that claim without prejudice to bringing a motion for leave to restore those claims once further

16   discovery and investigation is completed. However, Daniels opposes the MTD as to the claim

17   for violation of Section 17200 because prosecution of the Section 17200 claim may well

18   vindicate an important public interest that is relevant to many others similarly situated to

19   Daniels. The UCL claim will necessarily rise or fall with Daniels’ claims that Defendants

20   violated his First Amendment rights, making their conduct unlawful, and that Defendants

21   unlawfully appropriated Daniels’ earmarked donations, making their conduct an unfair

22   business practice. 12 Unlawful business activity includes “anything that can properly be called a

23   business practice and at the same time is forbidden by law.” Farmers Ins. Exch. v. Superior

24   Court, 2 Cal.4th 377, 383 (1992). If YouTube, at the behest of government officials, censored

25   Daniels’ speech and had no “reasonable belief” under the TOS as is required, then the activity

26   is unlawful. “Unfair” simply means any practice whose harm outweighs its benefits. Olsen v.

27

28
     12
             Contrary to Defendants’ assertion in the MTD (Opening Br. 16:19-20), Daniels did not
     allege “fraudulent” business practices in his UCL claim. (See Compl. ¶¶ 97, 98.)
                                           18             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 29 of 34



 1   Breeze, Inc.¸48 Cal.App.4th 608, 618 (1996). If Daniels can prove that the harm he suffered

 2   from the violation of his First Amendment rights and the conversion of his funds outweighs the

 3   “benefit” to YouTube, then the unfairness prong is met. The allegations made by Daniels in the

 4   Complaint more than suffice to support a claim under Section 17200.

 5   VI.    SECTION 230 DOES NOT BAR PLAINTIFF’S CLAIMS
 6          Unsurprisingly, Defendants rely on Section 230 of the Communications Decency Act

 7   (“CDA”) for the proposition that Daniels has no right to challenge their content censorship and

 8   demonetization. Defendants’ argument—essentially, that they are above the law—is wrong.

 9   Historically, the CDA was designed to “to promote the free exchange of information and ideas

10   over the internet and to encourage voluntary monitoring for offensive or obscene material.”

11   Batzel v. Smith, 333 F.3d 1018 (9th Cir. 2003). The statute provides immunity for “‘Good

12   Samaritan’ blocking of offensive material.” 47 U.S.C. § 120(c). Specifically, civil liability

13   immunity is provided for “[a]ny action voluntarily taken in good faith to restrict access or

14   availability of material that the provide or user considers to be obscene, lewd, lascivious, filthy,

15   excessively violent, harassing, or otherwise objectionable, whether or not such material is

16   constitutionally protected.” 42 U.S.C. § 230 (emphasis added). Section (c)(1) of the CDA

17   protects an ISP from being “treated as the publisher or speaker of any information provided by

18   another information content provider.” 42 U.S.C. §230(c)(1). In other words, according to one

19   view, “lawsuits seeking to hold a service provider liable for its exercise of a publisher’s

20   traditional editorial functions—such as deciding whether to publish, withdraw, postpone or

21   alter content—are barred.” Zeran v. America Online, 129 F.3d 327 (4th Cir. 1997). But see

22   Chicago Lawyers’ Comm. For Civil Rights Under Law, Inc. v. Craigslist, Inc., 519 F.3d 666

23   (7th Cir 2008), as amended (May 2, 2008) (rejecting the view that subsection (c)(1) creates

24   “immunity”).

25          Contrary to Defendants’ position and the citations they provide, whatever immunity

26   Section 230 of the CDA provides is not boundless. See, e.g., Song Fi. Inc. v. Google, 108

27   F.Supp.3d 876 (N.D. Cal. 2015) (“[T]he Court declines to adopt YouTube’s completely

28   subjective (and entirely unbounded) reading of these provisions”); Sherman v. Yahoo!, Inc.,

                                           19             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 30 of 34



 1   997 F.Supp.2d 1129, 1138 (S.D. Cal. 2014) (“The Court declines to broadly interpret

 2   ‘otherwise objectionable’ material to include any or all information or content.”). Just last

 3   December, the Ninth Circuit held that Section 230 does not immunize blocking and filtering

 4   decisions that are driven by anti-competitive animus. Enigma Software Group USA, LLC v.

 5   Malwarebytes, Inc., 946 F.3d 1040 (9th Cir. 2019, petition for cert. pending sub nom.

 6   Malwarebytes, Inc v. Enigma Software Group USA, LLC, No. 19-1284 (U.S. May 12, 2020).

 7   Enigma signals a retreat from the approach of some district courts that allowed companies like

 8   Defendants to enjoy virtually unfettered immunity for decisions to remove content from their

 9   platforms. Although district courts have varied in giving ISPs relatively unlimited leeway to

10   block content, the Ninth Circuit has now indicated that this leeway has bounds: “What is clear

11   to us from the statutory language, history, and case law is that providers do not have unfettered

12   discretion to declare online content ‘objectionable’ and blocking and filtering decisions that are

13   driven by anticompetitive animus are not entitled to immunity under section 230(c)(2).”

14   Enigma, 946 F.3d at 1047. The Ninth Circuit or the Supreme Court could very well conclude

15   that ISPs also do not have unfettered discretion to violate the First Amendment rights of

16   creators when those actions are designed, encouraged, and coerced by government officials.

17          Furthermore, Section 230 provides immunity to an ISP only when it acts in “good

18   faith.” The Ninth Circuit has held that “a decision that someone did or did not act in good faith

19   is one where the determination is ‘an essentially factual inquiry’ …” In re Figter Limited, 118

20   F.3d 635, 638 (9th Cir. 1997). Moreover, the legal issues implicated by this case are not clear-

21   cut. Given the Ninth Circuit’s retreat from interpreting Section 230 as conferring total

22   immunity, and given the statutory language and history of Section 230, the conclusion

23   suggested by Defendants is incorrect. (Cf. Opening Br. 20:8-22:2 (citing only pre-Enigma

24   cases, but not citing Song Fi or Sherman, supra.).) Enigma tore a large hole in Defendants’

25   argument that Section 230 gives them total immunity. Since Enigma is now the law of the

26   circuit, the MTD must be denied.

27          The statutory analysis in Enigma is also persuasive. The Ninth Circuit there construed

28   the term “otherwise objectionable” in Section 230 as including only categories of materials that

                                           20             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 31 of 34



 1   can “fairly be placed close” enough to the categories listed in Section 230 as authorizing

 2   providers to act as they please. Those categories include materials that are “obscene, lewd,

 3   lascivious, filthy, excessively violent, [or] harassing.” Enigma held that spam, malware, and

 4   adware were sufficiently similar to those categories to fall within the “otherwise objectionable”

 5   category. This is important because unlike Daniels’ speech, spam, malware, and adware are

 6   typically held in low regard because they harass users. Daniels’ content, on the other hand,

 7   cannot be classified as “fairly close” to obscenity, harassment, and the like. 13 Accordingly,

 8   Defendants cannot rely on the “otherwise objectionable” portion of Section 230 to excuse their

 9   unfettered censorship of Daniels and others like him. See also Song Fi, Inc., 108 F.Supp.3d at

10   883 (“otherwise objectionable” provision of Section 230 does not extend so far as to make

11   operators of video-sharing website immune from liability for contract and tortious interference

12   claims related to decision to block plaintiff’s music video based on purported breach of terms

13   of service, because Section 230’s title specifically refers to “offensive content”). 14

14           Moreover, by highlighting only a few seemingly inflammatory and profane snippets of

15   Daniels’ lengthy videos, Defendants transparently attempt to provoke this Court into ignoring

16   well-settled law and to conclude without any analysis that Daniels’ speech may reasonably be

17   deemed “objectionable.” However, whether speech is objectionable, just as whether it is

18   obscene, is measured against the applicable state law and requires a determination that “taken

19   as a whole, [it] does not have serious literary, artistic, political or scientific value. Miller v.

20

21   13
             While Daniels occasionally uses the type of vulgar language that is common among rap
     music artists and other internet personalities, e.g.
22
     https://www.youtube.com/watch?v=Wc5IbN4xw70, he is clearly using that language in a
23   figurative sense to emphasize his political message, not as a literal description or advocacy of
     obscene acts. Outside of the public-school context, speech that is profane is protected. United
24   States v. Poocha, 259 F.3d 1077 (9th Cir. 2001) (“Fuck you” directed at a park ranger was not
     intended nor likely to incite a riot was protected because its natural import “was an expression of
25   criticism of the police, not an incitement of the crowd to riot” “as tasteless as it may have been,
26   falls squarely within the protection of the First Amendment”).

27
     14
            The Northern District of California recently held that the CDA’s goal was to encourage
     platforms to “self-police” for the purpose of limiting children’s access to offensive material.
28   Gonzalez v. Google, Inc., 282 F.Supp.3d 1150 (N.D. Cal. 2017).

                                            21             Case No. 5:20:CV-046867-VKD
                                OPPOSITION TO MOTION TO DISMISS
              Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 32 of 34



 1   California, 413 U.S. at 15; see also United States v. Merrill, 746 F.2d 458 (9th Cir. 1984)

 2   (noting that the patently offensive test under the Miller standard is a “factual determination”).

 3   In summary, Enigma makes it clear that YouTube can no longer hide behind Section 230 and

 4   its TOS when it has bad motives such as, in that case, anticompetitive animus. 15 Can

 5   Defendants really argue at the MTD stage that Daniels’ speech “does not have serious literary,

 6   artistic, political or scientific value”?

 7           While Defendants’ ostrich-like failure to appreciate the significance of the Ninth

 8   Circuit’s decision in Enigma is disconcerting, their failure to even acknowledge Judge

 9   Gilliam’s recent decision in Enhanced Athlete, Inc. v. Google, LLC, 2020 WL 4722209, cannot

10   be a mere oversight: it was their case. In Enhanced Athlete, just as in this case, Google moved

11   to dismiss the Complaint of a plaintiff who objected to Google’s removal of his videos from

12   YouTube. Id. *1. Just like Daniels, the plaintiff in Enhanced Athlete is a YouTube content

13   creator who had published videos to YouTube, only to have them subsequently removed by

14   YouTube, which made opaque, boiler-plate remarks about how the videos violated YouTube’s

15   Community Guidelines. Id. (noting plaintiff asked YouTube to explain its actions only to be

16   met with vague responses that his viewpoints and opinions on health “promot[ed] violent or

17   dangerous acts that have an inherent risk of serious physical harm or death.”) Like Daniels (see

18   Compl. ¶ 59), the Enhanced Athlete plaintiff alleged that the defendants did not act in good

19   faith and therefore were not entitled to immunity when they struck videos that were allegedly in

20   full compliance with YouTube’s Community Guidelines, that they failed to provide any

21   comprehensible explanations for what was objectionable about the videos, and that they were

22   striking videos that were not “advertiser-friendly” for their own financial benefit. Id. *4. (Cf.

23
     15
24           Since the Ninth Circuit decided Enigma, only three cases have cited it. See Asurvio LP
     v. Malwarebytes, Inc., 2020 WL 1478345 (N.D. Cal. Mar. 26, 2020) (holding that Asurvio and
25   Malwarebytes were not direct competitors so anti-competitive animus immunity limitation did
     not apply); Zekleman Indus. Inc. v. Marker, 2020 WL 1495210 (D. Az. Mar. 27, 2020) (cited for
26   proposition that not all claims under Lanham Act involved trademarks); Hepp v. Facebook, 2020
     WL 3034815 (E.D. Pa. June 5, 2020) (in right of publicity case against social media platforms
27   for hosting publication of a photograph, citing Enigma for proposition that immunity for
     intellectual property claims should be construed narrowly). No case since Enigma has revisited
28   the issue of ISP immunity for blocking content when the decision to do so is based neither on
     good faith nor on a purely subjective decision the content is “objectionable.”
                                             22             Case No. 5:20:CV-046867-VKD
                                 OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 33 of 34



 1   Compl. ¶ 59 (“When Defendants took down Plaintiff’s material, they were not acting in good

 2   faith.”); ¶ 54 (“YouTube applies its censorship criteria, including the Terms of Use and

 3   Community Guidelines, as a pretext to censor and restrict Plaintiff’s speech based on the

 4   content of the speech … arbitrary and capricious and/or is based on political, religious, and

 5   other animus towards the identity and viewpoints of the speaker…”).) Judge Gilliam ultimately

 6   ruled 16 that the Enhanced Athlete plaintiff “has alleged sufficient facts to support its claim that

 7   Defendants did not act in good faith” and therefore were not necessarily entitled to Section 230

 8   immunity. Enhanced Athlete, supra, *4.

 9          At this stage of the litigation, the Court must accept as true the Plaintiff’s
            allegations in the complaint, and draw all inferences in the light most favorable
10          to the Plaintiff. As such, the Court finds that Plaintiff has alleged bad faith such
            that the Court cannot dismiss Plaintiff’s breach of implied covenant claim on the
11          basis of Section 230(c)(2) at this time.
12   Id. At least one other district court reached the same conclusion when Google claimed Section

13   230(c)(2) immunity in the face of an allegation that it had not acted in sufficient good faith to

14   trigger that immunity. See, e.g., e-ventures Worldwide, LLC v. Google, Inc., 188 F.Supp.3d

15   1265 (M.D. Fla. 2016) (reconsideration denied, motion to certify appeal denied) (holding that

16   the CDA’s good-faith defense was not apparent on the face of plaintiff’s complaint and could

17   not be considered on a motion to dismiss where the plaintiff claimed that Google was not acting

18   in good faith).

19   VII.   DEFENDANTS’ OWN FIRST AMENDMENT RIGHTS DO NOT BAR

20          DANIELS’ CLAIMS

21          Defendants claim that their own First Amendment rights as editors and publishers

22   protect their decision to censor Daniels’ content and erase it from their YouTube platform.

23   Daniels does not dispute that, much like a newspaper, Defendants generally enjoy a First

24   Amendment right to decide what to publish on their privately owned social media platform.

25   Standing alone, YouTube may well have some First Amendment right to remove content it

26   does not like, assuming that they can get past the Section 230 “good faith” limitation.

27

28
     16
             Judge Gilliam granted the MTD, but the plaintiff was afforded leave to amend his claim
     for breach of the implied covenant of fair dealing.
                                           23             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
             Case 5:20-cv-04687-VKD Document 19 Filed 09/03/20 Page 34 of 34



 1   However, this case is different for several reasons. First, Daniels has alleged that Defendants’

 2   actions in removing and demonetizing his content was not an exercise of their First

 3   Amendment rights but, rather, the result of influence, coercion, encouragement, and threats by

 4   government officials such as Speaker Pelosi and Chairman Schiff. Second, if Daniels prevails

 5   on his argument that Defendants’ censorship practices constitute “state action” (under either the

 6   “government nexus” or the “joint action” test set forth in Blum), their argument falls apart.

 7   When the state engages in viewpoint discrimination, the government cannot defend on the

 8   ground that it was merely exercising its own First Amendment rights, because the First

 9   Amendment is a right that the people enjoy against the state. 17 Third, Defendants’ First

10   Amendment rights are irrelevant to Daniels’ claims for conversion, breach of contract, breach

11   of the implied covenant, or violation of Section 17200.

12   VII.   CONCLUSION

13          Plaintiff Marshall Daniels respectfully requests that this Court DENY Defendants’

14   Motion to Dismiss the Complaint, except with respect to the Eighth and Ninth claims for relief,

15   which should be dismissed without prejudice.

16   Dated: September 3, 2020                  ARMENTA & SOL, PC

17

18                                             By: /s M. Cris Armenta
                                                                   M. Cris Armenta
19                                                               Attorneys for Plaintiff
                                                                   Marshall Daniels
20

21

22

23

24

25

26   17
             For example, if a plaintiff sues a federal agency for engaging in viewpoint-discrimination
27   censorship, the federal agency cannot defend the case on the ground that its censorship was
     merely the expression of its own First Amendment rights. Similarly, if this Court finds that
28   YouTube’s partnership with the government raises its censorship practices to the level of state
     action, YouTube cannot use the First Amendment to shield its own bad actions.
                                           24             Case No. 5:20:CV-046867-VKD
                               OPPOSITION TO MOTION TO DISMISS
